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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MISSOURI PRIMATE FOUNDATION,
et al.,
Plaintiffs and
Counterclaim Defendants

                                                                    Case No. 4:16 CV 2163 CDP
VS

PEOPLE FOR THE ETHICAL
TREATMENT OF ANIMALS, INC., et al.

                          Prose motion to notify of COVID exposure

Defendant prose Tonia Haddix wants to notify the court that I was notified that I Was exposed to
COVID at a gathering over the holidays, and am going to be tested tomorrow 1/4/2022. due to
some cold-like symptoms.



I understand that the filing of this motion does not cancel the hearing or trial scheduled for
January 5 2022

I certify that a copy of this motion was emailed to clerk Tiffani Tillman on 12/02/2021.


Tonia Haddix
1234 State Rd. CC
Festus, MO 63028
417-440-1351
